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                                                           Litigation Finance Fund International SP
                                                       8
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                              DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11                                                           Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                       Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                 Debtor.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                      14   HASELECT-MEDICAL RECEIVABLES                            Adversary Case No. 21-01167-abl
                                                           LITIGATION FINANCE FUND
                                                      15   INTERNATIONAL SP,
                                                      16                         Plaintiff,
                                                                                                                       STIPULATION TO EXTEND
                                                      17   v.                                                           DISCOVERY DEADLINES
                                                      18   TECUMSEH–INFINITY MEDICAL                                        (FIRST REQUEST)
                                                           RECEIVABLES FUND, LP,
                                                      19
                                                                                Defendant.
                                                      20

                                                      21   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                      22
                                                                               Counter-Claimant,
                                                      23
                                                           v.
                                                      24
                                                           HASELECT-MEDICAL RECEIVABLES
                                                      25   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                      26
                                                                                Counter-Defendant.
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                                                       1   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                       2   INTERNATIONAL SP,
                                                       3                           Counter-Claimant,
                                                       4   v.
                                                       5   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                       6
                                                                                  Counter-Defendant.
                                                       7

                                                       8             HASelect-Medical Receivables Litigation Finance Fund International SP (“HASelect”), by

                                                       9   and through its undersigned counsel, and Tecumseh-Infinity Medical Receivables Fund, LP

                                                      10   (“Tecumseh”), by and through its undersigned counsel (each a “Party” and, collectively, the

                                                      11   “Parties”), hereby agree and stipulate, pursuant to Local Rule 7026, to extend discovery deadlines
              1731 Village Center Circle, Suite 150




                                                      12   as follows:
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                                                      13   A.        Discovery Completed
                        (702) 471-7432




                                                      14             The following discovery has been completed:

                                                      15             1.     On or about January 12, 2022, HASelect served a subpoena on nonparty Three Bell

                                                      16   Capital.

                                                      17             2.     On or about January 12, 2022, HASelect served a subpoena on nonparty Jonathan

                                                      18   Porter.

                                                      19             3.     On or about January 17, 2022, Tecumseh served its Initial Disclosures pursuant to

                                                      20   FRCP 26 on HASelect.

                                                      21             4.     On or about January 18, 2022, HASelect served its Initial Disclosures pursuant to

                                                      22   FRCP 26 on Tecumseh.

                                                      23             5.     On or about March 10, 2022, HASelect served its First Set of Interrogatories and

                                                      24   Requests for Production on Tecumseh.

                                                      25             6.     On or about March 29, 2022, Tecumseh served its First Set of Requests for

                                                      26   Production on HASelect.

                                                      27             7.     On or about April 18, 2022, Tecumseh served its Responses to HASelect’s First Set

                                                      28   of Interrogatories and Requests for Production.

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                                                       1              8.       On or about May 18, 2022, HASelect served its Responses to Tecumseh’s First Set
                                                       2   of Requests for Production.
                                                       3              9.       On or about August 29, 2022, Tecumseh served its First Set of Interrogatories and
                                                       4   Requests for Admission as well as its Second Set of Requests for Production on HASelect.
                                                       5              10.      On or about September 9, 2022, HASelect served its deposition notice for the
                                                       6   deposition of Tecumseh.1
                                                       7              11.      On or about September 9, 2022, HASelect served deposition subpoenas on various
                                                       8   nonparties.
                                                       9   B.         Discovery Remaining
                                                      10              Discovery in this case has been ongoing and additional discovery remains to be completed,
                                                      11   including, but not limited to:
              1731 Village Center Circle, Suite 150




                                                      12              1.       Depositions of each party or the party’s representative;
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SHEA LARSEN




                                                      13              2.       Depositions of various third parties;
                        (702) 471-7432




                                                      14              3.       Additional written discovery;
                                                      15              4.       Meet and confer regarding allegedly deficient discovery responses; and
                                                      16              5.       Possible motion practice regarding allegedly deficient discovery responses.
                                                      17              The Parties reserve their right to take additional depositions based on information disclosed
                                                      18   in produced documents or obtained in the depositions the Parties have identified.
                                                      19   C.         Reasons Why Discovery Will Not Be Completed Within the Time Limit of the Existing
                                                      20              Deadlines
                                                                      This case is complex and involves thousands of accounts receivable purchased from more
                                                      21
                                                           than 100 different medical providers. While this Court has already ruled on some of the issues
                                                      22
                                                           regarding a subset of the accounts receivable at issue, other accounts receivable remain that require
                                                      23
                                                           further discovery and analysis. The Parties have worked diligently by engaging in discovery from
                                                      24
                                                           the outset of this case, but the extent of the documents produced in this matter are voluminous and
                                                      25
                                                           require additional time for review. Further, although depositions have been noticed, they will likely
                                                      26

                                                      27
                                                           1
                                                               HASelect subsequently withdrew its deposition notices for Tecumseh, and its principals.
                                                      28

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                                                       1   need to be pushed back to accommodate the Parties as well as non-party deponents’ schedules. There
                                                       2   are also outstanding issues regarding allegedly deficient discovery responses that will require that
                                                       3   the Parties meet and confer, which may also require motion practice. Further, discovery has been
                                                       4   delayed in this matter as a result of the Parties attending a settlement conference to try and resolve
                                                       5   this matter without incurring additional attorneys’ fees and costs. As settlement has not occurred,
                                                       6   the Parties will need to continue their discovery efforts in this matter.
                                                       7            The Parties believe that, given the situation as it presently exists, discovery cannot be
                                                       8   accomplished by the represented deadlines in the Parties’ joint discovery plan on file herein [ECF
                                                       9   No. 49]. This stipulation to extend the existing discovery deadlines is brought in good faith and not
                                                      10   for the purpose of delay. Based on the information presented in this Stipulation, the Parties believe
                                                      11   that good cause exists to extend discovery as proposed in order to permit the Parties to ensure that
              1731 Village Center Circle, Suite 150




                                                      12   discovery is conducted in a thorough manner.
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                                                      13   D.       Proposed Amended Discovery Schedule
                        (702) 471-7432




                                                      14            Based on the foregoing, the Parties have agreed to extend the discovery deadlines by
                                                      15   approximately ninety (90) days as follows:
                                                      16

                                                      17    Event Deadline                             Current Date             Proposed Date
                                                      18    Close of Fact Discovery                    9/30/2022                12/30/2022
                                                      19    Dispositive Motion Deadline                10/31/2022               1/31/2023
                                                      20    Final List of Witnesses and Exhibits       11/30/2022               2/28/2023
                                                      21    Expected trial ready date                  1/3/2023                 3/31/2023
                                                      22   ///
                                                      23   ///
                                                      24   ///
                                                      25   ///
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                                                      27   ///
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                                                       1   E.       Current Trial Date
                                                       2            This matter is presently scheduled to go to trial beginning on April 3, 2023. The extension
                                                       3   of discovery deadlines requested herein will not require any continuance of this trial date.
                                                       4            IT IS SO STIPULATED.
                                                       5
                                                           SHEA LARSEN                                      AKERMAN LLP
                                                       6

                                                       7   /s/ Bart K. Larsen, Esq.                         By: /s/ Michael D. Napoli, Esq.
                                                           Bart K. Larsen, Esq.                             MICHAEL D. NAPOLI, ESQ.
                                                       8   Nevada Bar No. 8538                              Pro hac vice
                                                           Kyle M. Wyant, Esq.                              2001 Ross Avenue, Suite 3600
                                                       9   Nevada Bar No. 14652                             Dallas, Texas 75201
                                                           1731 Village Center Circle, Suite 150            ARIEL E. STERN, ESQ.
                                                      10   Las Vegas, Nevada 89134                          Nevada Bar No. 8276
                                                      11                                                    1635 Village Center Circle, Suite 200
                                                           Attorneys for HASelect-Medical Receivables
              1731 Village Center Circle, Suite 150




                                                                                                            Las Vegas, Nevada 89134
                                                      12   Litigation Finance Fund International SP
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                                                            and
                                                      13
                        (702) 471-7432




                                                                                                            GARMAN TURNER GORDON LLP
                                                      14
                                                                                                            GERALD M. GORDON, ESQ.
                                                      15                                                    WILLIAM M. NOALL, ESQ.
                                                                                                            7251 Amigo St., Suite 210
                                                      16                                                    Las Vegas, Nevada 89119
                                                      17                                                    Attorneys for Tecumseh–Infinity Medical
                                                                                                            Receivable Fund, LP
                                                      18

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                                                                                            CERTIFICATE OF SERVICE
                                                       1
                                                                    1.   On September 15, 2022, I served the following document(s): STIPULATION TO
                                                       2                 EXTEND DISCOVERY DEADLINES (FIRST REQUEST)
                                                       3            2.   I served the above document(s) by the following means to the persons as listed
                                                                         below:
                                                       4
                                                                         ☒      a.       ECF System:
                                                       5
                                                                         CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                                                       6                 clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                       7                 GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                                         RECEIVABLES FUND, LP
                                                       8                 ggordon@gtg.legal, bknotices@gtg.legal
                                                       9                 MICHAEL D. NAPOLI on behalf of TECUMSEH-INFINITY MEDICAL
                                                                         RECEIVABLES FUND, LP
                                                      10                 michael.napoli@akerman.com,
                                                                         cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras
                                                      11                 @akerman.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com
              1731 Village Center Circle, Suite 150




                                                      12                 ARIEL E. STERN on behalf of TECUMSEH-INFINITY MEDICAL
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                         RECEIVABLES FUND, LP
                                                      13
                        (702) 471-7432




                                                                         ariel.stern@akerman.com, akermanlas@akerman.com
                                                      14                 ☐      b.       United States mail, postage fully prepaid:
                                                      15                 ☐      c.       Personal Service:
                                                      16                 I personally delivered the document(s) to the persons at these addresses:
                                                      17                                 ☐       For a party represented by an attorney, delivery was made by
                                                                         handing the document(s) at the attorney’s office with a clerk or other person in
                                                      18                 charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                                         in the office.
                                                      19
                                                                                         ☐       For a party, delivery was made by handling the document(s)
                                                      20                 to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                                         place of abode with someone of suitable age and discretion residing there.
                                                      21
                                                                         ☐       d.      By direct email (as opposed to through the ECF System):
                                                      22                 Based upon the written agreement of the parties to accept service by email or a
                                                                         court order, I caused the document(s) to be sent to the persons at the email
                                                      23                 addresses listed below. I did not receive, within a reasonable time after the
                                                                         transmission, any electronic message or other indication that the transmission was
                                                      24                 unsuccessful.
                                                      25                 ☐      e.       By fax transmission:
                                                      26                 Based upon the written agreement of the parties to accept service by fax
                                                                         transmission or a court order, I faxed the document(s) to the persons at the fax
                                                      27                 numbers listed below. No error was reported by the fax machine that I used. A copy
                                                                         of the record of the fax transmission is attached.
                                                      28

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                                                       1                ☐      f.       By messenger:
                                                       2                I served the document(s) by placing them in an envelope or package addressed to
                                                                        the persons at the addresses listed below and providing them to a messenger for
                                                       3                service.
                                                       4                I declare under penalty of perjury that the foregoing is true and correct.
                                                       5                Dated: September 15, 2022.
                                                       6                                                By: /s/ Bart K. Larsen, Esq,
                                                       7

                                                       8

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                                                      11
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




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                        (702) 471-7432




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